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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

   MALCOLM CAMPBELL, individually and                  Civil Case No.:
   on behalf of all others similarly situated,

                              Plaintiff,                 CLASS ACTION COMPLAINT AND
   v.                                                           JURY DEMAND

   DONISI JAX, INC. d/b/a NATIONWIDE
   HEALTH ADVISORS

                              Defendant.

                                           INTRODUCTION

          1.      Plaintiff Malcolm Campbell (“Plaintiff”) brings this Class Action Complaint for

  statutory damages, injunctive relief, and any other available legal or equitable remedies, resulting

  from Defendant Donisi Jax, Inc.’s (d/b/a Nationwide Health Advisors) (“Nationwide”) practice of

  placing prerecorded and autodialed telemarketing telephone calls to telephones without prior

  express written consent in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227

  et seq., (“TCPA”).

                                       JURISDICTION AND VENUE

          2.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

  arises under the TCPA, which is a federal statute. This Court has personal jurisdiction over

  Defendant because Defendant resides in this District and the behavior giving rise to the instant

  litigation occurred in this District.

          3.      Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant

  resides in this District.

                                              PARTIES


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         4.      Plaintiff is, and at all times mentioned herein was, a citizen and resident of Los

  Angeles, California.

         5.      Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47

  U.S.C. § 153 (39).

         6.      Defendant Donisi Jax, Inc. d/b/a Nationwide Health Advisors is and at all times

  mentioned herein was, a corporation duly organized under the laws of the State of Florida with its

  headquarters in Pompano Beach, Florida.

         7.      Defendant is and at all times mentioned herein was, a “person” as defined by 47

  U.S.C. § 153(39).

                                   FACTUAL ALLEGATIONS

         8.      In 2017, Defendant began placing telephone calls to Plaintiff’s cellular telephone

  number ending in 0279.

         9.      These calls came from Defendant’s telephone numbers, including 323-289-6166,

  323-289-6167, and 323-289-6172.

         10.     Upon information and belief, Defendant has called Plaintiff dozens of times.

         11.     All of the calls were intended to, and did, advertise health insurance plans.

         12.     Several of these calls used a prerecorded voice.

         13.     For example, one of the calls used the prerecorded voice of a terrible Morgan

  Freeman impersonator, which advertised health plans and invited Plaintiff to call back at 855-341-

  3959, which is one of Defendant’s telephone numbers.

         14.     These calls also used an automatic telephone dialing system, as evidenced by a brief

  and unnatural pause prior to the prerecorded messages beginning to play (e.g. in the Morgan

  Freeman example, no message began for four seconds).


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         15.     Because the calls constitute telemarketing, Defendant was required to obtain prior

  express written consent from the persons to whom they made calls.

         16.     “Prior express written consent” is specifically defined by statute as:

         [A]n agreement, in writing, bearing the signature of the person called that clearly
         authorizes the seller to deliver or cause to be delivered to the person called
         advertisements or telemarketing messages using an automatic telephone dialing
         system or an artificial or prerecorded voice, and the telephone number to which the
         signatory authorizes such advertisements or telemarketing messages to be
         delivered.

  47 CFR § 64.1200(f)(8).

         17.     Specifically, this requires any written agreement to have a “clear and conspicuous”

  disclosure informing the person signing that “such person authorizes the seller to deliver or cause

  to be delivered to the signatory telemarketing calls using an automatic telephone dialing system or

  an artificial or prerecorded voice[.]” 47 CFR § 64.1200(f)(8)(i)(A).

         18.     “Clear and conspicuous”, in turn, is defined as “notice that would be apparent to a

  reasonable consumer, separate and distinguishable from the advertising copy or other disclosures.”

  47 CFR § 64.1200(f)(3).

         19.     Plaintiff allegedly provided his telephone number through healthcare.com.

         20.     The disclosure on the page on which Plaintiff allegedly provided his telephone

  number is not sufficient to allow for “prior express written consent” as defined above.

         21.     As seen in the screenshot below, the required disclosures, to the extent they are

  adequate, are in small gray front on a gray page, below the “SEE PLAN QUOTES” button that

  purportedly binds the user to the terms.




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         22.     The placement and design of this disclosure is not “apparent to a reasonable

  consumer.” It is in small gray font against a slightly lighter gray background, below the button that

  needs to be clicked to see quotes.

         23.     Furthermore, while the page notes directly under the email field that “a copy of

  your quote will be sent here”, there is no similar disclaimer immediately under the “phone” field

  (which is required). This is deceptive in that it gives the false sense that calls would not be made,

  but quotes would instead be emailed.

         24.     Not only is the design and placement of the disclosure deficient, the disclosure itself

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  is also deficient for several reasons.

         25.     In full, the disclosure states:

          By clicking on the submit button, by completing a contact form on this site or
         calling a number posted on this site, you represent that you are at least 18 years old
         and agree to our Privacy Policy and Terms of Use. You provide your signature
         expressly consenting to be contacted by HealthCare, Inc. and/or its partner
         companies and any of their commercial partners concerning the purchase of policies
         for health and other types of insurance including personal property and casualty
         insurance, even if you are on a state or federal Do Not Call Registry. You may be
         directed to a licensed sales agent who can answer your questions and provide
         information about Medicare related insurance plans. Agents are not connected with
         or endorsed by the U.S. government or the federal medicare program. You agree to
         be contacted through the use of emails or on your landline or mobile phone by live
         operators, automated telephone dialing systems, pre-recorded messages, and/or text
         messages or email. Your phone carrier’s message and data rates may apply. Your
         consent is not a condition of purchase and you may revoke your consent at any
         time. You may also call to inquire and/or purchase. The plan prices and details
         shown here are just our initial estimates. To buy a plan, you must complete an
         application process with one of our partners that is licensed to sell insurance
         products and that will provide you more definitive information on plan prices,
         benefits, availability, and other details.

         26.     The disclosures regarding autodialed or prerecorded messages is included midway

  through a paragraph containing several other disclosures, including disclosures regarding the

  application process, licensure, pricing, and relationships (or lack thereof) with the government and

  various agencies.

         27.     This violates the requirement that the disclosure regarding prerecorded

  telemarketing calls must be “separate and distinguishable” from other disclosures.

         28.     Perhaps most egregiously, this disclosure does not directly explain to which

  companies the user is purportedly giving consent.

         29.     Only by clicking the “partner companies” hyperlink is one provided a list of

  companies.

         30.     Clicking the “partner companies” hyperlink causes a window to pop out displaying


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  a list of 814 Companies that, along with their “commercial partners”, ostensibly now have consent

  to call the person who filled out the form. The first part of this pop out can be seen in the following

  screenshot:




         31.     Nationwide Health Advisors appears more than halfway down the list (company

  number 527).

         32.     Beyond being absurd on its face to allow one form to give consent for phone calls

  from at least 814 different companies buried in a hyperlink, this violates the requirement that any


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  prior express written consent agreement clearly and conspicuously authorizes “the seller” to

  deliver prerecorded telemarketing calls.

         33.     Necessarily, this includes clearly and conspicuously identifying the seller – not

  providing a pop up link to a list of more than 800 companies who can now call

         34.     Accordingly, the healthcare.com page is insufficient to allow for “prior express

  written consent” and neither Plaintiff nor anyone else who allegedly provided their information to

  Defendant through this page provided the required “prior express written consent.”

         35.     Indeed, Plaintiff did not want these calls, and sought to stop these calls by

  requesting that Defendant stop calling. These calls caused Plaintiff to spend time answering, time

  attempting to opt out, and caused Plaintiff immense frustration and annoyance. The calls were an

  invasion of Plaintiff’s privacy.

         36.     Upon information and belief, Defendant does not maintain adequate records to

  track revocation of consent.

         37.     Regardless, because Defendant failed to obtain prior express written consent prior

  to making its prerecorded and autodialed telemarketing calls, Defendant’s telephone calls violate

  47 U.S.C. § 227(b), and Plaintiff and putative class members are entitled to $500 to $1500 per call.

                                 CLASS ACTION ALLEGATIONS

         38.     Plaintiff brings this action under Fed. R. Civ. P. 23 on behalf of a proposed class

  defined as:

                 Plaintiff and all persons within the United States to whose telephone
                 number Defendant placed a prerecorded or artificial voice
                 telemarketing call, or to whose cellular telephone number Defendant
                 placed a call using an automatic telephone dialing system, when
                 Defendant       obtained    that     telephone     number     through
                 HealthCare.com.

                 (“Class”)

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         39.     Excluded from this class are Defendant and any entities in which Defendant has a

  controlling interest; Defendant’s agents and employees; any Judge and Magistrate Judge to whom

  this action is assigned and any member of their staffs and immediate families, and any claims for

  personal injury, wrongful death, and/or emotional distress.

         40.     The Class members for whose benefit this action is brought are so numerous that

  joinder of all members is impracticable.

         41.     The exact number and identities of the persons who fit within the class are

  ascertainable in that Defendant maintains written and electronically stored data showing:

                 a.      The time period(s) during which Defendant placed its calls;

                 b.      The telephone numbers to which Defendant placed its calls;

                 c.      The content of the calls;

                 d.      The equipment and methods for making the calls;

                 e.      The source of the telephone numbers to which Defendant placed its calls.

         42.     The Class is comprised of hundreds, if not thousands, of individuals nationwide.

         43.     There are common questions of law and fact affecting the rights of the Class

  members, including, inter alia, the following:

                 a.      Whether Defendant used an automatic dialing system or prerecorded voice

         in placing its calls;

                 b.      Whether the disclosure at healthcare.com qualifies as prior express written

         consent;

                 c.      Whether Plaintiff and Class members were damaged thereby, and the extent

         of damages for such violations; and

                 d.      Whether Defendant should be enjoined from engaging in such conduct in

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            the future.

            44.     Plaintiff is a member of the Class in that Defendant made prerecorded

  telemarketing calls using an automatic telephone dialing system to his cellular telephone.

            45.     The claims of Plaintiff are typical of the Class members in that they arise from

  Defendant’s uniform conduct and are based on the same legal theories of all Class members.

            46.     Plaintiff and all putative Class members have also necessarily suffered actual

  damages in addition to statutory damages, as the calls used Class members’ cellular telephone

  plans, caused a nuisance to Class members, caused Class members to waste time answering the

  calls, and invaded Class members’ privacy.

            47.     Plaintiff has no interests antagonistic to, or in conflict with, the Class.

            48.     Plaintiff will thoroughly and adequately protect the interests of the Class, having

  retained qualified and competent legal counsel to represent himself and the Class.

            49.     Defendant has acted and refused to act on grounds generally applicable to the Class,

  thereby making injunctive and declaratory relief appropriate for the Class as a whole.

            50.     The prosecution of separate actions by individual class members would create a

  risk of inconsistent or varying adjudications.

            51.     A class action is superior to other available methods for the fair and efficient

  adjudication of the controversy since, inter alia, the damages suffered by each class member make

  individual actions uneconomical.

            52.     Common questions will predominate, and there will be no unusual manageability

  issues.

                                      FIRST CAUSE OF ACTION
                                       Violation of 47 U.S.C. § 227
                                    (On Behalf of Plaintiff and the Class)


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          53.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

          54.     Defendant placed prerecorded and autodialed telemarketing telephone calls to the

   telephone numbers belonging to Plaintiff and the other members of the Class.

          55.     These calls were made in the absence of prior express written consent from

   Plaintiff and Class members.

          56.     Defendant has therefore violated 47 U.S.C. § 227(b).

          57.     As a result of Defendant’s unlawful conduct, Plaintiff and the members of the

   putative Class are each entitled to, inter alia, a minimum of $500 in damages for each such

   violation under 47 U.S.C. § 227(b)(3)(B).

          58.     Should the Court determine that Defendant’s conduct was willful and/or knowing,

   Plaintiff and each member of the Class are entitled to treble damages in the amount of $1,500 per

   call, pursuant to 47 U.S.C. § 227(b)(3).

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Malcolm Campbell, individually and on behalf of the Class,

   prays for the following relief:

          A.      An order certifying the Class as defined above, appointing Plaintiff Campbell as

   the representative of the Class, and appointing his counsel as Class Counsel;

          B.      An order declaring that Defendant’s actions, as set out above, violate 47 U.S.C. §

   227;

          C.      An award of injunctive and other equitable relief as necessary to protect the

   interests of the Class, including, inter alia, an order prohibiting Defendant from engaging in the

   wrongful and unlawful acts described herein;

          D.      An award of statutory damages;


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         E.     Such other and further relief that the Court deems reasonable and just.


                                          JURY DEMAND

                  Plaintiff requests a trial by jury of all claims that can be so tried.



   Dated: January 9, 2018                                /s/ Bradford R. Sohn
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